       Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 1 of 7 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

PEDRO RIOS, Administrator of the Estate of               )
PEDRO RIOS, JR., deceased,                               )
                               Plaintiff,                )
                       v.                                )      Case No.
                                                         )
CITY OF CHICAGO, a municipal corporation,                )      Jury Demanded
and other CITY OF CHICAGO POLICE OFFICERS                )
not presently known to Plaintiff,                        )
                                                         )
                      Defendants.                        )

                                         COMPLAINT

            NOW COMES the plaintiff, Pedro Rios, Administrator of the Estate of Pedro

Rios, Jr., deceased, by her attorneys, Mark A. Brown and Lane & Lane, LLC, and as his

complaint against the defendants, states the following:

                                     Jurisdiction and Venue

        1. This action seeks damages under federal law, Title 42 U.S.C. §1983, for

defendants' actions which violated Plaintiff's rights under the Fourth and Fourteenth

Amendments to the United States Constitution. This action also seeks damages for

claims arising under Illinois law.

        2. The jurisdiction of this Court is invoked pursuant to Title 28 U.S.C. Sections

1331 and 1343 and this Court's supplemental jurisdiction under Title 28 U.S.C. Section

1367. Venue in this District is predicated upon Title 28 U.S.C. Section 1391(b) as all

events giving rise to the claims asserted herein took place within this Northern District of

Illinois.




                                              1
      Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 2 of 7 PageID #:2




                                           Parties

       3. Plaintiff, PEDRO RIOS brings this action as the Administrator of the Estate of

PEDRO RIOS, JR. (hereinafter “RIOS”), deceased. PEDRO RIOS is the father of

PEDRO RIOS, JR. PEDRO RIOS, JR., 14 years old, was a resident of the City of

Chicago, County of Cook, State of Illinois, in this District. On July 5, 2014, PEDRO RIOS,

JR. died as a result of the injuries he sustained at the hands of defendants.

       4. At all times material hereto unknown defendants, OFFICERS A and B, were

sworn law enforcement officers employed by the City of Chicago. At all times material

hereto Officers A and B were acting under color of state law and within the scope of his

employment with the City of Chicago.

       5. The defendant City of Chicago (hereinafter “CITY”) is an Illinois municipal

corporation and body politic located in Cook County, Illinois. At all relevant times hereto,

the CITY was the employer of as of yet unknown defendants, Officers A and B, and other

police officers involved in varying degrees in the events at issue.

       6. At all times relevant on July 4, 2014, Officers A & B were on patrol in the

general area of Cicero Ave. and Berenice Ave. in the City of Chicago.

       7. On July 4, 2014, Officers A & B observed the decedent, RIOS, walking in the

area of Cicero Ave and Berenice Ave.

       8. While the decedent was walking at or near the intersection, Officers A & B pulled

their marked vehicle near the decedent; the decedent attempted to leave the area and ran

into an alley when he was struck by the marked police vehicle.

       9. One of the Officers exited the vehicle, and shot the decedent with his service

weapon.




                                             2
      Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 3 of 7 PageID #:3




       10. The Officer that shot the decedent has claimed that the decedent was carrying

and brandished a weapon.

       11. At the time shots were fired at the decedent, the teenager did not pose a threat

of harm to Officers A and/or B or any other individual(s) in the area of the shooting.

       12. According to the Cook County Medical Examiner, the decedent died of multiple

gunshot wounds in the back.

       13. By reason of the above-described acts and omissions of the defendant police

officers, plaintiff, PEDRO RIOS, sustained economic injuries, physical injuries,

humiliation, and indignities, and suffered great mental and emotional pain and suffering,

all to his damage.

       14. The aforementioned acts of the Officers A and B were willful, wanton,

malicious, oppressive, and done with reckless indifference to and/or callous disregard for

plaintiffs' rights and justify the awarding of exemplary and punitive damages.

                                   COUNT I
                EXCESSIVE FORCE (Individual defendants) - 42 U.S.C. § 1983

       15. Plaintiff re-alleges and incorporates paragraphs 1-14, above, as if fully restated

herein as this paragraph 15.

       16. At all times relevant hereto, plaintiff’s decedent had the right to be from injury

from unreasonable, malicious, excessive force from state actors such as defendants, as

protected by the Fourth and Fourteenth Amendments to the Constitution of the United

States.

       17. As described above, Officers A and B violated the plaintiff’s decedent’s right to

be free from unreasonable, malicious, excessive force when he/they shot him causing

multiple gunshot wounds which proximately caused his death.



                                              3
      Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 4 of 7 PageID #:4




       18. As result of defendants’ concerted unjustified and excessive use of force,

plaintiff’s decedent suffered injuries, pain as well as severe emotional distress.

       19. Assuming arguendo that one of the Officers (either A or B) did not fire his

weapon, that Officer was present at the scene of this occurrence and had a reasonable

opportunity to intervene to prevent the harm done to plaintiff’s decedent, and should have

intervened to prevent his partner’s unjustified and excessive use of force in shooting the

plaintiff’s decedent.

       20. As a result of that failure to intervene, plaintiff’s decedent suffered pain and

injury, and ultimately death.

       21. The misconduct described in this Count I was objectively unreasonable and

was undertaken intentionally with willful deliberate indifference to plaintiff’s decedent’s

constitutional rights.

       22. The misconduct described in this Count I was undertaken with malice,

willfulness, and reckless indifference to the rights of others.

                                       COUNT II
                            WRONGFUL DEATH - STATE LAW

       23. Plaintiff restates and incorporates by reference as if fully set forth herein

paragraphs 1-22, above, as and for this paragraph 23.

       24. At the aforesaid place and time, the CITY, by its agents and employees,

including but not limited to Officers A and B, was under a duty to avoid willful and wanton

misconduct while conducting police activities.

       25. At all times relevant, it was the duty of the CITY, by and through its duly

authorized agents, servants, and/or employee police officers, to refrain from conduct

exhibiting a reckless or conscious disregard for the safety of others, including the



                                              4
      Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 5 of 7 PageID #:5




plaintiff’s decedent.

       26. Moreover, at the aforesaid time and place, the CITY, by its agents and

employees, was under a duty to comply with and conduct itself in accordance with

accepted and established police procedures and policies and the Chicago Police

Department’s General and Special Orders.

       27. Notwithstanding these duties, the CITY, by its authorized agents, servants,

and/or employee police officers committed one or more of the following willful and

wanton acts and/or omissions:

       a.    Used deadly force against plaintiff’s decedent under circumstances in which

       he presented no threat of death or serious bodily harm to the police officers or any

       other individual;

       b.     Discharged a firearm at plaintiff’s decedent under circumstances in which he

       presented no threat of death or serious bodily harm to the police officers or any

       other individual;

       c.      Discharged a firearm at plaintiff’s decedent when he was unarmed;

       d.     Discharged a firearm at plaintiff’s decedent when the individual defendant

       police officers knew or should have known that he was not armed with a gun or any

       other weapon;

       e.      Recklessly and intentionally discharged a firearm at plaintiff’s decedent

       knowing that it would cause his death or serious bodily injury;

       28. That the aforesaid acts were committed occurred with reckless disregard for

the safety of others, including but not limited to plaintiff’s decedent and constituted willful

and wanton conduct.




                                              5
      Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 6 of 7 PageID #:6




       29. As described in the preceding paragraphs, the conduct of Officers A and B,

acting within the scope of their employment, constituted unjustified and offensive physical

contact, was undertaken willfully and wantonly, and proximately caused injury and death

to plaintiff’s decedent.

       30. The misconduct described in this Count was objectively unreasonable and was

undertaken intentionally with malice, willfulness, and reckless indifference to the rights

and safety of others, including plaintiff’s decedent.

       31. As a direct and proximate result of one or more of the above-stated willful and

wanton acts and/or omissions, plaintiff’s decedent was shot and died.

       32. The misconduct described in this Count was undertaken by Officers A and B

within the scope of their employment such that their employer, the CITY, is liable for their

actions.

       33. As a direct and proximate result of the death of plaintiff’s decedent, his father,

plaintiff PEDRO RIOS, as well as his mother, Laura Rios, and his siblings, Andy Rios,

Mauricio Rios and Edwin Rios have and will continue to suffer great loss of a personal

and pecuniary nature, and has been and will continue to be deprived of the society,

companionship, friendship, comfort, guidance, love and affection of her son.

       WHEREFORE, plaintiff, PEDRO RIOS, Administrator of the Estate of PEDRO

RIOS, JR., deceased, respectfully requests that judgment be entered in his favor for

compensatory damages against all of the named defendants, for punitive damages

against the yet unknown officer defendants, and that he be awarded his costs and a

reasonable attorney’s fee pursuant to the provisions of Title 42 U.S.C. § 1988, in addition

to any other relief from this Court deemed just and proper.




                                              6
     Case: 1:15-cv-03119 Document #: 1 Filed: 04/09/15 Page 7 of 7 PageID #:7




                                     /s/ Mark A. Brown
                                     One of the attorneys for plaintiff




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                                        7
